Case 1:20-cv-20961-KMW Document 213 Entered on FLSD Docket 02/14/2022 Page 1 of 1



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 20-20961-CIV-WILLIAMS

   SILVA HARAPETI, on behalf of herself and
   all other similarly situated individuals,

           Plaintiff,

   v.

   CBS TELEVISION STATIONS, INC., et al.,

           Defendants.

   _________________________________________/

                                                 ORDER

           THIS MATTER is before the Court on Magistrate Judge Lauren Louis’ Report and

   Recommendation (“the Report”) (DE 211) on Defendants CBS Television Stations, Inc.’s and CBS

   Broadcasting Inc.’s (collectively, the “Defendants’”) Motion for Decertification (DE 157). In the

   Report, Judge Louis recommends that the Court grants Defendants’ Motion for Decertification.

   (DE 211 at 2.) No objections to the Report were filed.

           Upon an independent review of the Report, the record, and applicable case law, it is

   ORDERED AND ADJUDGED as follows:

               1. The conclusions in the Report (DE 211) are AFFIRMED AND ADOPTED.

               2. Defendants’ Motion for Decertification (DE 157) is GRANTED and the collective

                    conditionally certified by the Court’s prior order (DE 121) is DECERTIFIED.

        DONE AND ORDERED in Chambers in Miami, Florida, this 14th day of February, 2022.
